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SUPPLEMENTAL REPORT

TEXAS DEPARTMENT OF PUBLIC SAFETY
CRIMINAL INVESTIGATIONS DIVISION

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CONTENTS MAY BE DISSEMINATED OUTSIDE THE AGENCY TO WHICH LOANED,

PREPARED BY: JIMMY BURKETT INVEST#: 2018I-CID1-50031018
LEVEL 1 SUPERVISOR: KEITH DERAMUS REPORT#: $1
LEVEL 2 SUPERVISOR: KEITH DERAMUS ACTIVITY DATE: 11/14/2018
LEAD INVESTIGATOR: JIMMY BURKETT DATE WRITTEN: 12/06/2018
SUPERVISOR: RODNEY TANDY DATE APPROVED: 01/22/2019
REPORT TYPE: INITIAL REPORT STATUS: APPROVED
ACTIVITY TYPE: INVESTIGATIVE SPURS URN: CMRE50101353
OTHER ACTIVITY: LEGACY REF:
TITLE: INTERVIEW OF-CHILD VICTIM #1 CASE:

REFERENCE BRYAN DOUGLAS CONLEY
DIVISION: CRIMINAL INVESTIGATIONS DIVISION SERVICE:
REGION: 1 , DISTRICT: Cc
ACTIVITY LOCATION: TEXAS US - UNITED STATES OF AMERICA AREA: 01-TYLER

(USA) ‘

SYNOPSIS

On 11/14/2018, Texas Department of Public Safety Criminal Investigations Division Special
Agent Jim Burkett interviewed a child who was possibly a Human Trafficking victim of BRYAN
DOUGLAS CONLEY.

DETAILS

1. On 11/14/2018, Special Agent (S/A) Jim Burkett, Department of Public Safety Criminal
Investigations Division, Tyler was contacted and advised that a possible Human Trafficking
victim was at a juvenile facility in Grand Saline, Texas.

2. At approximately 2:25 PM, S/A Burkett arrived and made contact with a black female, 17
years of age, who will be identified in this report as Child Victim #1. The interview was
conducted inside of the secure juvenile facility.

3, S/A Burkett recorded the interview with a digital audio recording device and a digital
audio/video recording device.

4. S/A Burkett learned the following from Child Victim #1:

Child Victim #1 lives in Pataskola, Ohio with Child Victim #1’s mother, Child Victim #1
did not want to be at home anymore and wanted to find a “Sugar Daddy” to help get Child
Victim #1 away from home.

On approximately 11/08/2018, Child Victim #1 went onto a dating website called
“PlentyofFish.com,” created a profile under the screen name “prettybaby693” and began
searching for a “Sugar Daddy.” Child Victim #1 utilized email account elmobby119@gmail.com to
sign up for the account,

Ghild Victim #1 quickly made contact with an individual named “Bryant,” who claimed to be
a mixed race male in his 20’s from Memphis, Tennessee. “Bryant” utilized a profile name of
“loveiseasy” with some numbers after it.

After a while of texting on “PlentyofFish.com” (PoF), Child Victim #1 began texting with
“Bryant” through Child Victim #1's cell phone which is assigned #614-822-7707. Child Victim
#1 stated that pictures later exchanged through text showed “Bryant” to be tall and muscular

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with caramel colored skin and a tattoo on the left side of “Bryant’s” chest.

The conversation began as relationship talk and once sexual activity was mentioned by
“Bryant,” the’ conversation quickly turned into “Bryant” saying that “Bryant” would pay for
different sex acts, including $200,000.00 for anal sex and evén more money if Child Victim #1
brought a friend. “Bryant” also: promised a new cell phone, a car, a new I.D., cash, etc.

The conversation continued via cell phone through 11/09/18,

On Saturday, 11/10/2018, “Bryant” claimed to have been in a vehicle accident, so “Bryant”
coordinated sending a friend to pick up Child Victim #1 and bring Child Victim #1 to
Tennessee for the weekend,

Somewhere between 10:00 AM and 11:00 AM, a white male driving a grey Ford Taurus arrived
at a park near Child Victim #1’s house, where Child Victim #1 had instructed to meet. Child
Victim #1 described the white male as approximately 5'7”-5'8”, with a shaved head and large
blue 6yes, approximately 200 pounds, fat and ugly. Child Victim #1 described a tattoo on the
white male’s arm/shoulder as having some type of red banner across it. S/A Burkett would
later identify the white male as BRYAN DOUGLAS CONLEY.

Child Victim #1 stated that while riding, Child Victim #1 continued to text with “Bryant”
who told Child Victim #1 that “Bryant” would pay Child Victim #1 even more money if “Bryant”
had sex with CONLEY.

CONLEY and Child Victim #1 departed towards Tennessee, drove for a few hours and
eventually stopped at a Super 8 hotel in Lagrange, Kentucky. Upon arrival, CONLEY went inside
and booked room #210 and paid cash,

S/A Burkett later identified this as the Super 8 Hotel located at 1420 E Crystal Drive,
Lagrange, Kentucky 40031.

At that point, Child Victim #1 had vaginal, oral and anal sex with CONLEY. Child Victim #1
stated that CONLEY did not wear a condom and ejaculated into Child Victim #1’s mouth. Child
Victim #1 initially tried to get CONLEY to wear a condom but CONLEY claimed to have had a
vasectomy and said Child Victim #1 didn’t have to worry about pregnancy.

' After that, CONLEY and Child Victim #1 left and drove to Bowling Green, Kentucky and drove
back to the Super 8 hotel. ,

Once back at the hotel, Child Victim #1 again had vaginal, oral and anal sex with CONLEY.
Child Victim #1 stated that CONLEY did not wear a condom and ejaculated into Child Victim
#1’'s mouth. After that CONLEY ordered a pizza and then Child Victim #1 and CONLEY ate pizza
in the hotel room. CONLEY and Child Victim #1 then went to sleep in separate beds.

On Sunday, 11/11/18, CONLEY and Child Victim #1 woke up late, went to McDonald’s drive
through between 11:00 AM and 1:00 PM, then departed and began driving towards Tennessee,

At some point, Child Victim #1 was texting with “Bryant,” who allegedly told Child Victim
#1 to get onto PoF and if Child Victim #1 could find someone to have sex with and allow
CONLEY to film it, “Bryant” would pay Child Victim #1 even. more money.

Child Victim #1 began trying different locations and every male that replied, Child Victim
#1 would ask if they would have sex with Child Victim #1 and allow a friend to film it. All
of the men declined except for one. S/A Burkett would later confirm this information by
searching through the PoF messages along with Child Victim #1.

Eventually, a light skinned black male named “Ryan” agreed and told Child Victim #1 to go
to Park Place Apartments in Jackson, Tennessee. At this point, the two began texting on cell
phones rather than the PoF platform. Child Victim #1 and “Ryan” exchanged nude photographs
via cell. phone, “Ryan” utilized the PoF screen name RynoBSmoove96.

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At some point that afternoon/evening, Child Victim #1 and CONLEY arrived at one of the
bottom apartments and met “Ryan,” along with “Ryan's” brother. “Ryan’s” brother then
departed.

Child Victim #1 and “Ryan” went into a bedroom and had oral, vaginal and anal sex. “Ryan”
started with a condom but eventually removed the condom when Child Victim #1 complained about
it. Child Victim #1 stated that that Child Victim #1 had told “Ryan” that Child Victim #1 was
18 years old.

CONLEY was in the room the entire time and filmed Child Victim #1 having sex with “Ryan”
using CONLEY’S cell phone,

When finished, CONLEY and Child Victim #1 departed and drove to a rest stop somewhere
around Lake Catherine State Park in Little Rock, Arkansas and slept in the car,

CONLEY and Child Victim #1 then departed and continued to travel south, At this point,
Child Victim #1 did not believe that “Bryant” was ever going to meet with Child Victim #1 and
Child Victim #1 wanted to go home.

CONLEY agreed to take Child Victim #1 to a house in Texas and stopped at the “24 Hour
Market” gas station located at 598 N 4th Street, Wills Point, Texas, When Child Victim #10
went inside to purchase a drink, CONLEY left Child Victim #1 there. Child Victim #1’s purse,
cell phone and belongings were still in the vehicle.

Child Victim #1 borrowed a cell phone from an employee and attempted to get help through
PoF. S/A Burkett later verified this information by searching through the PoF messages along
with Child Victim #1.

While at the gas station, Child Victim #1 made contact with an individual who identified
himself to Child Victim #1 as “SLACK” and offered to allow Child Victim #1 to stay at
“SLACK’S” house. S/A Burkett would later identify “SLACK” through the Wills Point police
report as CECIL NAKIA AUTRY.

Child Victim #1 then left with AUTRY and spent the day smoking marijuana and drinking
Hennessey with Coke, Child Victim #1 then stayed at AUTRY’S residence located. at 2017 Dyer
Street, Wills Point, Texas,

That night, Child Victim #1 and AUTRY were in the bed together and AUTRY was begging for
sex, at one point saying, “How am I gonna take care of you if you can’t take care of me?”
Child Victim #1 eventually pulled Child Victim #1/’s pants down and AUTRY performed oral sex
on Child Victim #1.

AUTRY then attempted repeatedly to have sex with Child Victim #1 who said “No.” AUTRY
attempted but had a very large penis and could not penetrate Child Victim #1 past the head of
AUTRY'S penis. Child Victim #1 began crying and telling AUTRY to stop. AUTRY eventually got
angry and stopped. ‘

In the morning, AUTRY again tried to have sex with Child Victim #1, but AUTRY’S penis was
too large.

AUTRY never threatened or injured Child Victim #1.

At this point, Child Victim #1 contacted Child Victim #1's stepfather in order to attempt
to go home.

AUTRY then transported Child Victim #1 to the Wills Point Police Department.
5. Wills Point Police Department Detective Cassie Mosely prepared a report of the recovery

of Child Victim #1, who had been entered into NCIC as a missing person (Attachment A, Wills
Point Police Report assigned case #1811-00637).

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6. At approximately 3:49 PM, S/A Burkett stopped the recording and started a new recording.
There was no time lapse between the two. During the second recording, $/A Burkett learned
that prior to the series of events, Child Victim #1 had only had sex two times and it was
with a prior boyfriend, S/A Burkett explained all of the crime victims’ benefits available
and how the process would continue. S/A Burkett ended the interview at 3:58 PM and departed,

7. S/A Burkett took hand written notes during the interview (Attachment B, field notes).

8. On 11/15/2018, S/A Burkett made contact with the LaGrange Kentucky Police Department who
sent Officer Meaks to the Super 8 hotel located at 1420 BE Crystal Drive, Lagrange, Kentucky
and the officer inquired about who rented room #210 on 11/10/2018. Officer Meaks contacted
8/A Burkett and informed S/A Burkett that the hotel staff advised Officer Meaks that on said
date, the individual who rented the room provided the name. BRYAN CONLEY, telephone number
915-241-7423 and paid for the room in cash, There was no video available,

9. On 11/26/2018, S/A Burkett conducted an intel database search of the name “BRYAN CONLEY”

in Tennessee; Kentucky, Texas and Ohio. S/A Burkett located numerous individuals by the same

name; however, S/A Burkett was able to locate the CONLEY in question as matching the physical
description provided by Child Victim #1, being in the National Guard, previously living in EL
Paso (which is where the 915 area code is from), having an address in Ohio and Tennessee and

CONLEY’S mother is the registered owner of a gray 2014 Ford Taurus assigned Tennessee license
plate #7J09NO.

10. S/A Burkett was also able to locate CONLEY through Facebook and sent a photograph to
Child Victim #1 and asked if Child Victim #1 had ever seen the individual. Child Victim #1
advised S/A Burkett that the photograph was the “fat white guy” and that it was “100% him.”

11. On 11/29/2018, S/A Burkett conducted a different database search and found that on
03/25/2018, Apex, North Carolina Police Department was contacted by Elizabeth Heather Glass
and advised that Glass had met an individual named “BRYAN CONLEY” in an online game in March
of 2018 and began texting through cell phones. CONLEY had utilized telephone number 915~-241-
7423. '

12. At the end of March, CONLEY traveled from Tennessee to North Carolina, where CONLEY met
up with Glass and had sexual relations. Glass stated that CONLEY claimed to be in the
military and living in Tennessee. CONLEY departed and had been calling and harassing Glass
from March until Glass contacted police on 04/27/2018 (Attachment C, police report).

13. On 11/29/2018, S/A Burkett transferred the digital audio recording to a DVD that was
designated Non-Drug Exhibit #S1.P1. S/A Burkett reviewed the DVD and found it to be of good
quality and clarity. S/A Burkett timed, dated, initialed and on 12/06/2018, submitted Non-
Drug Exhibit #S1.P1 to DPS CID S/A Josh Roraback to be placed into entrusted property under
tag #3896,

14. On 12/07/2018, S/A Burkett transferred the digital audio/video recording to a portable
storage device that was designated Non-Drug Exhibit S1.P2. S/A Burkett. reviewed the video
and found it to be of good quality and clarity. S/A Burkett timed, dated, initialed and
submitted Non-Drug Exhibit #S1.P2 to S/A Roraback to be placed into entrusted property under
tag #3901.

15. This investigation will continue.

INVOLVED LOCATIONS

2017 Dyer Street
Wills: Point, TX
Home Address ; AUTRY, CECIL NAKIA

INVOLVED VEHICLES

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